                 Case 2:97-cr-00051-JCC           Document 712     Filed 09/24/09     Page 1 of 1



 1                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 2
 3      UNITED STATES OF AMERICA,
 4                                                                Case No. CR97-51JCC
                                 Plaintiff,
 5                                                                INITIAL ORDER RE:
                          v.                                      ALLEGATIONS OF
 6                                                                VIOLATION OF
        VERYL E. KNOWLES,                                         CONDITIONS OF
 7                                                                SUPERVISION
                                 Defendant.
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 9
10          THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
     Office alleging that the defendant has violated the conditions of supervision.
11              The plaintiff appears through Assistant United States Attorney, MATT THOMAS.
12              The defendant appears personally and represented by counsel, COLIN FIEMAN (on stand-by).
13
14              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
                supervision, and the defendant has been advised of the allegation(s).
15           The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
16          petition to be held at the time and date below set forth before Judge JOHN C COUGHENOUR:

17                             Date of hearing:      OCTOBER 9, 2009

18                             Time of hearing:      9:00 A.M.

19              IT IS ORDERED that the defendant:

20              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.

21              (X) Be detained for failing to show that he/she will not flee or pose a danger to any other person
                    or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
22                  by the court for further proceedings.

23          The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
24   Office. THIS ORDER IS ENTERED WITHOUT PREJUDICE TO REVIEW.

25                                                          September 24, 2009.

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27
                                                            A
                                                            J. Richard Creatura
                                                            United States Magistrate Judge
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     ORDER
     Page - 1
